[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]ADDENDUM TO MEMORANDUM OF DECISION
In its original Memorandum of Decision, the court failed to make a finding as to the reasonableness of the plaintiff's appraiser's fee.
The attorney general in his post trial brief objected to the appraiser's fee of $2750.00. It should be noted that this included an expert witness fee of $500.00 which is inappropriate. Deducting the $500.00 witness fee leaves an appraisal fee of $2250.00. It is the appropriateness of this fee that the court is concerned with.
The defendant in his post trial brief alleges that the appraisal fee is excessive and equates a reasonable fee with a normal residential property foreclosure appraisal fee. A normal appraisal in a routine residential foreclosure is usually an exterior one with the appraiser never seeing the interior of the property being foreclosed. This is not the situation before the court.
In the present situation, not only does the appraiser have the opportunity to view the property in its entirety but the uniqueness of the subject property in its after taking condition CT Page 5316-DDDD warrants a fee that would be greater than a residential foreclosure appraisal. The court finds a fee of $2250.00 to be reasonable and as such it is hereby awarded.
The Court
Curran, JTR